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ALOHA PETROLEUM, LTD., and
LOIS OSORNO



                 IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII


CAROLINE T. FOSTER,                      Civil No. CV22-00519 HG RT
                Plaintiff,               DEFENDANTS ALOHA
                                         PETROLEUM LTD. AND LOIS
      v.                                 OSORNO’S ANSWER TO
                                         COMPLAINT
ALOHA PETROLEUM, LTD., and
LOIS OSORNO,

                Defendants.


                DEFENDANTS’ ANSWER TO COMPLAINT

      Defendants Aloha Petroleum LTD., (“Aloha”) and Lois Osorno (“Osorno”)

(jointly, “Defendants”) hereby answer the Complaint filed herein by Plaintiff

Caroline T. Foster (“Plaintiff”) on December 15, 2022 (the “Complaint”), and

admit, deny, and allege as follows:
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                                    I. PARTIES

      In response to the allegations in subsection A, Defendants state that the

allegations in subsection A constitute a legal conclusion, which requires neither an

admission nor a denial. To the extent a response is required, Defendants admit that

Plaintiff lived in Hawaii during her employment with Aloha.

      In response to the allegations in subsection B, Defendants state that the

allegations in subsection B constitute a legal conclusion, which requires neither an

admission nor a denial. To the extent a response is required, Defendants admit that

Aloha is a company that is incorporated in Hawaii with its principal place of business

in Honolulu, Hawaii and is licensed to do business in Hawaii.

      In response to the allegations in subsection C, Defendants state that the

allegations in subsection C constitute a legal conclusion, which requires neither an

admission nor a denial. To the extent a response is required, Defendants admit that

Lois Osorno is the Director of Human Resources for Aloha.

      In response to the allegations in subsection D, Defendants state that the

allegations in subsection D constitute a legal conclusion, which requires neither an

admission nor a denial. To the extent a response is required, Defendants admit that

Plaintiff was employed at the Aloha location specified.




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                                 II. JURISDICTION

       Defendants acknowledge that Plaintiff alleges discrimination based on age

and disability, but deny that any statute or law was violated or that Plaintiff is entitled

to any relief.

                           III. STATEMENT OF CLAIM

       Defendants acknowledge that Plaintiff alleges discrimination based on the

termination of her employment, alleged failure to accommodate her disability, and

other acts specified. However, Defendants deny any statute or law was violated or

that Plaintiff is entitled to any relief. Defendants also deny any discrimination, lying

or fabrication occurred. Defendants are without sufficient information to admit or

deny the remaining allegations in subsection A, and therefore deny same.

       Defendants deny any alleged discriminatory acts occurred on the dates

specified under subsection B or on any other date.

       Defendants deny committing and still committing unlawful acts against

Plaintiff specified under subsection C.

       Defendants deny discriminating against Plaintiff based on age, disability, as

alleged under subsection D, or any other reason. Defendants admit that Plaintiff was

born in 1940.




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                            STATEMENT OF FACTS

      1.    Defendants admit Plaintiff was hired by Aloha as a Sales Associate on

or about August 15, 2017.

      2.    Defendants are without sufficient information to admit or deny the

allegations in Paragraph 2 of the Complaint, and therefore deny same.

      3.    Defendants are without sufficient information to admit or deny the

allegations contained in Paragraph 3 of the Complaint, and therefore deny same.

      4.    Defendants admit Lenora Koga (also known as Kanani) was the Hawaii

Kai Store manager prior to Vicky Abigania. Defendants are without sufficient

information to admit or deny the remaining allegations contained in Paragraph 4 of

the Complaint, and therefore deny same.

      5.    Defendants admit Vicky Abigania replaced Lenora Koga (also known

as Kanani) as the new Hawaii Kai Store manager. Defendants are without sufficient

information to admit or deny the remaining allegations contained in Paragraph 5 of

the Complaint, and therefore deny same.

      6.    Defendants are without sufficient information to admit or deny the

allegations contained in Paragraph 6 of the Complaint, and therefore deny same.

      7.    Defendants are without sufficient information to admit or deny the

allegations contained in Paragraph 7 of the Complaint, and therefore deny same.




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      8.     Defendants deny hours were assigned to Aloha employees based on

age. Defendants are without sufficient information to admit or deny the remaining

allegations contained in Paragraph 8 of the Complaint, and therefore deny same.

      9.     Defendants are without sufficient information to admit or deny the

allegations contained in Paragraph 9 of the Complaint, and therefore deny same.

      10.    Defendants deny the allegations contained in Paragraph 10 of the

Complaint.

      11.    Defendants admit receiving a letter from Plaintiff regarding her wages.

Defendants are without sufficient information to admit or deny the remaining

allegations contained in Paragraph 11 of the Complaint, and therefore deny same.

      12.    Defendants are without sufficient information to admit or deny the

allegations contained in Paragraph 12 of the Complaint, and therefore deny same.

      13.    Defendants admit The State of Hawaii Unemployment Insurance

Division issued a decision on December 30, 2021 stating, “You were discharged for

reasons other than misconduct connected with work.”

      14.    Defendants admit to filing an appeal with the State of Hawaii

Department of Labor & Industrial Relations. Defendants are without sufficient

information to admit or deny the remaining allegations contained in Paragraph 14 of

the Complaint, and therefore deny same.




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      15.    Defendants deny sending Plaintiff a falsified or fabricated document.

Defendants are without sufficient information to admit or deny the remaining

allegations contained in Paragraph 15 of the Complaint, and therefore deny same.

      16.    Defendants admit The State of Hawaii Department of Labor and

Industrial Relations held a hearing on February 1, 2022.

      17.    Defendants admit The State of Hawaii Department of Labor and

Industrial Relations affirmed its decision on February 2, 2022 that Claimant was

discharged for reasons other than misconduct connected with work.

      18.    Defendants are without sufficient information to admit or deny the

allegations contained in Paragraph 18 of the Complaint, and therefore deny same.

      19.    Defendants admit that Aloha denied mediation in regards to Plaintiff’s

Charge of Discrimination with the Equal Employment Opportunity Commission

(“EEOC”). Defendants are without sufficient information to admit or deny the

remaining allegations contained in Paragraph 19 of the Complaint, and therefore

deny same.

      20.    Defendants are without sufficient information to admit or deny the

allegations contained in Paragraph 20 of the Complaint, and therefore deny same.

      21.    Plaintiff’s allegations contained in Paragraph 21 refers to a timeline

drafted by Plaintiff. To the extent a response is required, Defendants admit Plaintiff

was hired by Aloha on August 15, 2017 and that Defendants received a letter from




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Plaintiff regarding her wages. Defendants are without sufficient information to

admit or deny the remaining allegations contained in the timeline referred to in

Paragraph 21 of the Complaint, and therefore deny same.

        IV. EXHAUSTION OF FEDERAL ADMINISTRATIVE REMEDIES

       Defendants admit that Plaintiff filed a Charge of Discrimination with the

EEOC.      Defendants are without sufficient information to admit or deny the

remaining allegations contained in subsection A, and therefore deny same.

       Defendants admit that the EEOC issued a Notice of Right to Sue upon request,

dated October 17, 2022. Defendants deny sixty days or more had elapsed when

Plaintiff filed this matter on December 15, 2022.

                                V. PRAYER FOR RELIEF

       Defendants are not required to respond to Plaintiff’s prayer for relief.

However, to the extent the prayer asserts allegations, Defendants deny every

allegation contained therein. Defendants further deny that Plaintiff is entitled to any

of the relief listed therein.

                                 DEMAND FOR JURY

       Plaintiff did not make a demand for jury in her Complaint and Defendants do

not demand a jury in this matter.




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                               GENERAL DENIAL

      Any and all allegations contained in Plaintiff’s Complaint not specifically

admitted herein are hereby denied by Defendants.

                          AFFIRMATIVE DEFENSES

                       FIRST AFFIRMATIVE DEFENSE

      The Complaint fails to state a claim upon which relief can be granted.

                     SECOND AFFIRMATIVE DEFENSE

      Plaintiff’s claims are barred by the doctrine of unclean hands.

                      THIRD AFFIRMATIVE DEFENSE

      Plaintiff’s claims are barred by the doctrines of waiver and/or estoppel.

                     FOURTH AFFIRMATIVE DEFENSE

      Plaintiff’s claims are barred by the doctrine of laches.

                      FIFTH AFFIRMATIVE DEFENSE

      Plaintiff’s claims are barred by her failure to exhaust administrative remedies

and/or contractual remedies, a condition precedent to the maintenance of this action.

                      SIXTH AFFIRMATIVE DEFENSE

      Plaintiff is barred from maintaining this action by the applicable statute of

limitations.




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                    SEVENTH AFFIRMATIVE DEFENSE

      Plaintiff’s claims seeking damages for emotional and/or physical injury are

preempted by workers’ compensation laws.

                     EIGHTH AFFIRMATIVE DEFENSE

      Plaintiff’s claim for damages is barred in whole or in part by Plaintiff’s failure

to reasonably mitigate her damages.

                      NINTH AFFIRMATIVE DEFENSE

      Plaintiff’s claim for damages is barred in whole or in part by after-acquired

evidence of her misconduct.

                      TENTH AFFIRMATIVE DEFENSE

      Defendants contend that all actions taken by Defendants were in good faith,

and for legitimate non-retaliatory and/or non-discriminatory business reasons.

                   ELEVENTH AFFIRMATIVE DEFENSE

      If Plaintiff is adjudged to be entitled to any recovery, Defendants are entitled

to a set-off for any compensation, including, without limitation to, unemployment

compensation, wages, salaries, and/or Social Security payments Plaintiff received.

                    TWELFTH AFFIRMATIVE DEFENSE

      Defendants contend that any alleged conduct, act, or omission against

Defendants is not the cause in fact or proximate cause of the damages, if any,




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suffered by Plaintiff, and/or Plaintiff’s claims are barred by the doctrine of

intervening and/or superseding causation.

                  THIRTEENTH AFFIRMATIVE DEFENSE

      Defendants contend that Defendants promulgated appropriate policies and

exercised reasonable care to prevent and promptly correct any discriminatory or

retaliatory behavior and assuming, arguendo, that discrimination and/or retaliation

occurred, Plaintiff unreasonably failed to properly avail herself of the preventive

and/or corrective opportunities Defendants provided.

                  FOURTEENTH AFFIRMATIVE DEFENSE

      Defendants instituted and enforced a proper and/or effective anti-

discrimination policy and Plaintiff failed to timely complain.

                    FIFTEENTH AFFIRMATIVE DEFENSE

      Plaintiff’s claims for disability discrimination, failure to accommodate, and

failure to engage in the interactive process are barred, in whole or in part, to the

extent she was not a qualified person with a disability as defined by relevant law,

nor was she regarded as a qualified person with a disability.

                    SIXTEENTH AFFIRMATIVE DEFENSE

      Plaintiff’s claims for disability discrimination, failure to accommodate, and

failure to engage in the interactive process are barred, in whole or in part, to the

extent that the Court may find that Plaintiff does have a disability that limits a major




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life activity and that Defendants had an obligation to reasonably accommodate such

a disability, Plaintiff failed to request a reasonable accommodation for her alleged

physical disability.

                   SEVENTEETH AFFIRMATIVE DEFENSE

      Plaintiff’s claims for disability discrimination, failure to accommodate, and

failure to engage in the interactive process are barred, in whole or in part, to the

extent that the Court may find that Plaintiff does have a disability that limits a major

life activity and that Defendant had an obligation to reasonably accommodate such

a disability, Plaintiff failed to engage in the interactive process reasonably and in

good faith.

                   EIGHTEENTH AFFIRMATIVE DEFENSE

      Plaintiff’s claims for disability discrimination, failure to accommodate, and

failure to engage in the interactive process are barred, in whole or in part, to the

extent that the Court may find that Plaintiff does have a disability that limits a major

life activity and that Defendants had an obligation to reasonably accommodate such

a disability, Plaintiff could not perform the essential functions of her job, with or

without reasonable accommodation.

                   NINETEENTH AFFIRMATIVE DEFENSE

      Plaintiff’s claims for disability discrimination, failure to accommodate, and

failure to engage in the interactive process are barred, in whole or in part, to the




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extent that the Court may find that Plaintiff does have a disability that limits a major

life activity and that Defendants had an obligation to reasonably accommodate such

a disability, no reasonable accommodation existed which would have permitted

Plaintiff to perform the essential functions of her position.

                   TWENTIETH AFFIRMATIVE DEFENSE

      Plaintiff’s claims for disability discrimination, failure to accommodate, and

failure to engage in the interactive process are barred, in whole or in part, to the

extent that the Court may find that Plaintiff does have a disability that limits a major

life activity and that Defendants had an obligation to reasonably accommodate such

a disability, any accommodation of Plaintiff’s alleged disability would have imposed

an undue hardship on Defendants.

                 TWENTY-FIRST AFFIRMATIVE DEFENSE

      Plaintiff’s claims for disability discrimination, failure to accommodate, and

failure to engage in the interactive process are barred, in whole or in part, to the

extent that the Court may find that Plaintiff does have a disability that limits a major

life activity and that Defendants had an obligation to reasonably accommodate such

a disability, Defendants provided the accommodation(s) sought by Plaintiff for her

alleged physical disability.




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                TWENTY-SECOND AFFIRMATIVE DEFENSE

      Plaintiff’s claims for disability discrimination, failure to accommodate, and

failure to engage in the interactive process are barred, in whole or in part, to the

extent that the Court may find that Plaintiff does have a disability that limits a major

life activity and that Defendants had an obligation to reasonably accommodate such

a disability, Plaintiff, even with reasonable accommodation, was unable to perform

the essential duties of Plaintiff’s former position and/or to perform those duties in a

manner that would not endanger Plaintiff’s health or safety or the health or safety of

others.

                 TWENTY-THIRD AFFIRMATIVE DEFENSE

      Defendants contend that any unlawful or other wrongful acts attributed to any

person(s) employed by Aloha were outside the scope of his or her authority and such

acts, if any, were not authorized, ratified or condoned by Defendants, nor did

Defendants know or have reason to be aware of such conduct.

               TWENTY-FOURTH AFFIRMATIVE DEFENSE

      Defendants contend that Defendants at all times acted in good faith, without

malice and were justified with regard to its legal obligations to Plaintiff.

                 TWENTY-FIFTH AFFIRMATIVE DEFENSE

      Defendants allege that Plaintiff’s claims are barred, in whole or in part,

because if any unlawful discriminatory motive existed in connection with any




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employment decision involving Plaintiff, which Defendants deny, such employment

decision would have been the same even without any such unlawful discriminatory

motive.

                 TWENTY-SIXTH AFFIRMATIVE DEFENSE

      Defendants allege that punitive damages are unconstitutional in general and

as applied to Defendants.

                TWENTY-SEVENTH AFFIRMATIVE DEFENSE

      Defendants allege that punitive damages constitute excessive fines prohibited

by the United States and the Hawaii Constitutions. The relevant statutes do not

provide adequate standards or safeguards for their application and they are void for

vagueness under the due process clause of the Fourteenth Amendment of the United

States Constitution and in accordance with Article I, Section 5 of the Hawaii

Constitution.

                TWENTY-EIGHTH AFFIRMATIVE DEFENSE

      Defendants allege that Aloha nor Osorno was ever Plaintiff’s employer, and

therefore, were improperly named as Defendants.

                            RESERVATION OF RIGHTS

      Defendants reserve the right to assert such additional defenses that may appear

and prove applicable during the course of this action.

      WHEREFORE, Defendants respectfully request that:




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      1.    All of the claims made and relief prayed for in the Complaint be denied,

and the claims and the Complaint be dismissed with prejudice;

      2.    The Court grant Defendants such other relief in law or in equity as the

Court deems just and proper; and

      3.    Judgment be entered in Defendants’ favor.

Dated:      January 6, 2023
                                           LITTLER MENDELSON, P.C.


                                           /s/ Judy M. Iriye
                                           Judy M. Iriye
                                           Attorney for Defendants
                                           ALOHA PETROLEUM, LTD., and
                                           LOIS OSORNO




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                 IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAII


CAROLINE T. FOSTER,                             Civil No. CV22-00519 HG RT

                Plaintiff,

      v.
ALOHA PETROLEUM, LTD., and LOIS
OSORNO,
                Defendants.


                             CERTIFICATE OF SERVICE

      I hereby certify that, on the date and by the method of service noted below, a
true and correct copy of DEFENDANTS ALOHA PETROLEUM LTD. AND
LOIS OSORNO’S ANSWER TO COMPLAINT was duly served upon the
following:
      On January 6, 2023, I served electronically through CM/ECF and at the email
address below. A copy was also sent via U.S. Mail to the address below:
      Caroline T. Foster                           carolinefoster9895@gmail.com
      111 Hoolako Place
      Honolulu, Hawaii 96825
      Plaintiff, pro se
DATED:       Kailua, Hawaii, January 6, 2023.

                                      /s/ Judy M. Iriye
                                      Judy M. Iriye
                                      LITTLER MENDELSON, P.C.
                                      Attorneys for Defendants
                                      ALOHA PETROLEUM LTD., and LOIS
                                      OSORNO



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